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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                      Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                      Defendants.



                                    MOTION FOR ENTRY OF
                                     PROTECTIVE ORDER

       Defendants respectfully move for entry of a protective order in the above-captioned action.

There is good cause to issue a protective order pursuant to Federal Rule of Civil Procedure 26(c)

to govern the disclosure, use, and handling of certain information in the administrative record and

items produced and received in discovery, if discovery is authorized by the Court.

       The Social Security Administration’s Administrative Record contains sensitive, nonpublic

information that includes measures SSA uses to safeguard its information and systems, which if

made public could allow bad actors to circumvent agency privacy and security controls. Although

these policies and manuals are controlled unclassified information (32 C.F.R. Part 2002), SSA still

safeguards these records from unauthorized and public dissemination, and they are not policies

that SSA would normally disclose to the public under the Freedom of Information Act (5 U.S.C.

§ 552). The Administrative Record also includes personnel records and personal information of

SSA’s DOGE Team members that is protected by the Privacy Act of 1974 and would not be
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released under FOIA. Further, the Administrative Record includes agreements with other agencies

that may contain nonpublic and sensitive information about or from those other agencies.

       To ensure that Plaintiffs and this Court have access to information contained in the

Administrative Record for purposes of Plaintiffs’ forthcoming motion for preliminary injunction,

SSA cannot merely redact all the records. Redaction would also be impractical given the short

time SSA has had to compile the Administrative Record in these expedited proceedings. Thus,

SSA seeks to produce the Administrative Record pursuant to the proposed Protective Order.

Plaintiffs should have no objection to a protective order under the circumstances of this case, in

which Plaintiffs have expressed a concern for personal privacy and data protection.

       Defendants therefore respectfully request that the Court enter the accompanying proposed

protective order.

       Defendants have conferred with Plaintiffs’ counsel, who oppose this motion. Defendants’

understanding is that Plaintiffs object on the basis of what they consider to be the proposed

protective order’s overbreadth. Any concern about application of the proposed protective order to

the Administrative Record, however, or any other alleged overbreadth, can be resolved between

the parties in the coming days. In order to enable the timely service of the record to Plaintiffs,

Defendants respectfully request that the Court enter the attached protective order.

Dated: April 2, 2025                                 Respectfully submitted,

                                                     YAAKOV M. ROTH
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     ELIZABETH J. SHAPIRO
                                                     Deputy Branch Director
                                                     Civil Division, Federal Programs Branch

                                                     /s/ Bradley P. Humphreys
                                                     BRADLEY P. HUMPHREYS

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                               CERTIFICATE OF SERVICE

       I certify that on April 2, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                    /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
